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     Gary A. Talesfore
 1   California Bar No. 133116
     Law Office of Gary A. Talesfore
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 3
     Attorney for Defendant
 4   VANIK ATOYAN
 5

 6                            IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9                                                   )   2:11-cr-0210-JAM
     UNITED STATES OF AMERICA,                       )
10                                                   )   STIPULATION AND ORDER FOR
                     Plaintiff,                      )   MODIFICATION OF PRE-TRIAL
11                                                   )   CONDITIONS
            v.                                       )
12                                                   )
     VANIK ATOYAN,                                   )   Date: February 12, 2015
13                                                   )   Time:
                     Defendant                       )   Judge: Hon. John A. Mendez
14                                                   )
                                                     )
15

16

17          Vanik Atoyan moves the Court for an order modifying the conditions of pretrial
18   release to allow him to travel outside the Eastern District of California for person
19   reasons under conditions to be set by Pretrial Services. Mr. Atoyan seeks permission to
20   travel to Yerevan, Armenia, in order to attend his sister’s funeral. He hopes to leave
21
     Saturday, February 14, 2015 on Aeroflot SU, Flight Number 0107, leaving from Los
22
     Angeles International Airport, and returning to Los Angeles International Airport
23
     aboard Flight 0106 Friday, March 6, 2015.
24

25
                                  I.   PROCEDURAL HISTORY.
26
            Mr. Atoyan is awaiting sentencing in the above-referenced case. He was ordered released
27
     in May 2010, on a $100,000 unsecured bond. From May 2010, to date, Mr. Atoyan has been
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 1   under Pre-Trial Services supervision. He has been compliant and cooperative throughout this
 2   period.
 3

 4                                       II.    APPLICABLE LAW.
 5
               18 U.S.C. § 3142(c)(3) provides, “[t]he judicial officer may at any time amend” a release
 6
     order “to impose additional or different conditions of release.”
 7
                                               III.   MOTION.
 8
               Mr. Atoyan is 45years old and has no prior record. He has been married to Kristine
 9
     Atoyan for 18 years, and the couple has three children, ages 17, 15 and 9. Mr. Atoyan is self-
10
     employed, and has been so employed for many years.
11
               Mr. Atoyan’s sister, who lives in Armenia, died February 10, 2015. The funeral is
12
     scheduled for February 16, 2015 in Gyumri, Armenia. His proposed flight itinerary is attached.
13
     He is scheduled to fly from Los Angeles International Airport (LAX) Saturday, February 14,
14
     2015 on flight 0107. He is scheduled to return to Los Angeles International Airport on March 6,
15
     2015. He will be flying in the company of his mother, Viktorya Atoyan and his brother, Martin
16
     Atoyan. His wife, Kristine Atoyan, and three children, will remain in Sacramento and will
17

18
     surrender their passports to Attorney Gary Talesfore, pending Mr. Atoyan’s return. Mr. Atoyan

19   will surrender pink slips to his truck and trailer to either the Court or to Mr. Talesfore. Mr.

20   Atoyan will surrender his passport to the Court within one day of his return.

21             He will comply with all conditions that the Pretrial Services Officer may wish to set on

22   his travel, e.g., providing his travel itinerary; and by reporting via telephone or as Pretrial
23   Services otherwise requests.
24             The Court may set any conditions of release that reasonably assure Mr. Atoyan will
25   appear as ordered. There is no risk of flight as Mr. Atoyan has been out of custody for nearly five
26   years, with no concerns about flight.
27   //
28
     //


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 1                                 IV. CONDITIONS FOR TRAVEL
 2          Beth Wetteland, Supervisory U.S. Pretrial Services Officer Pre-Trial Services has
 3   requested the following conditions, (and Assistant U.S. Attorney Lee S. Bickley concurs) under
 4   which Mr. Atoyan may be granted the Proposed Order:
 5
            Vanik Atoyan’s spouse, Kristine Atoyan, remains employed full time with the
 6
     Sacramento Employment Training Agency and earns $3,000 per month. Ms. Atoyan does not
 7
     own any real property.
 8
            Mrs. Atoyan will co-sign a $200,000 unsecured bond.
 9
            Mrs. Atoyan will surrender her passport, and the passports of the couple’s three children
10
     to Attorney Gary Talesfore.
11
            Mrs. Atoyan will surrender the following pink slips to Attorney Gary Talesfore:
12
            2004 Freightliner Truck (unencumbered and registered in Kristine Atoyan's name) -
13
     estimated worth approximately $20,000 - $22,000
14
            2005 Utility Dry Van Trailer (unencumbered and registered in Krsitine Atoyan's name) -
15
     estimated worth approximately $14,000 - $15,000
16
            2007 Lexus 350 (unencumbered and registered in Krsitine Atoyan's name) - estimated
17
     worth approximately $18,000
18
            Mrs. Atoyan understands the risks involved if the defendant fails to appear or fails to
19
     return from Armenia.
20
            If Mr. Atoyan is approved to travel, the defendant is willing to surrender his passport to
21
     Pretrial Services on the morning of Monday, March 9, 2015.
22

23
                                         V.      CONCLUSION.
24
            Mr. Atoyan respectfully asks the Court to modify his conditions of release to permit
25

26
     travel to Armenia, on conditions to be set by Pretrial Services. Furthermore, Assistant U.S.

27   Attorney Lee S. Bickley, has advised that she is not opposed to Mr. Atoyan’s travel plan.

28   Dated: February 12, 2015



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 1   IT IS SO ORDERED
 2
     DATED: February 12, 2015
 3
                                           /s/ Gary A. Talesfore
 4                                         Gary A. Talesfore, SBN 133116
                                           Attorney for Defendant
 5                                         Vanik Atoyan
 6

 7   DATED: February 11, 2015              Benjamin B. Wagner
                                           United States Attorney
 8

 9
                                           /s/ Lee Bickeley
                                           Lee S. Bickley
10                                         Assistant U.S. Attorney
11

12
                                          ORDER

13   IT IS SO FOUND AND ORDERED this 12th day of February, 2015.
14

15
                                           /s/ John A. Mendez______________
16                                         HONORABLE JOHN A. MENDEZ
                                           U. S. DISTRICT COURT JUDGE
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